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                                                                                                      E-FILED
                                                                      Wednesday, 22 June, 2022 02:54:52 PM
                                                                              Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS

HALEY HEILMAN,                                         )
                                                       )
                                                       )
               Plaintiff,                              )
                                                       )
               v.                                      )       Case No. 3:18-CV-3260-SEM-TSH
                                                       )
STEVEN MEEKS et al.,                                   )
                                                       )
                                                       )
               Defendants.                             )       Hon. Sue E. Myerscough


                             MOTION FOR LEAVE TO WITHDRAW

       NOW COMES undersigned counsel, who seek leave of this Court to withdraw as counsel

from this matter. In support thereof, undersigned counsel state as follows:

       1.           The undersigned is an attorney with the firm of Loevy & Loevy, which has

represented Plaintiff in this above-captioned case.

       2.           Sarah Grady, formerly of Loevy & Loevy, also represents Plaintiff in this case.

Ms. Grady recently provided Loevy & Loevy with written direction, signed by Plaintiff, for

Loevy & Loevy and its attorneys to terminate its representation of Plaintiff, and to transfer the

files in this case to a new law firm Ms. Grady has started, Kaplan & Grady LLC.

       3.           Pursuant to that direction, Kaplan & Grady LLC has advised Loevy & Loevy

that it assumes responsibility for the representation of Plaintiff.

       4.           The firm Loevy & Loevy and its attorneys Jon Loevy, Arthur Loevy, Stephen

H. Weil, and Mariah Esperanza Garcia, are complying with Ms. Grady’s and Plaintiff’s direction

without prejudice to such rights as Loevy & Loevy has under its engagement agreement and
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applicable law, including but not limited to its right to contingency and statutory compensation

should the Plaintiff prevail.

       WHEREFORE, the firm Loevy & Loevy and its attorneys Jon Loevy, Arthur Loevy,

Stephen H. Weil, and Mariah Esperanza Garcia respectfully request the Court to enter an order

permitting them to withdraw their appearances in this matter.


                                                     Respectfully Submitted,

                                                     /s/ Jon Loevy

                                                     Jon Loevy
                                                     Arthur Loevy
                                                     Stephen H. Weil
                                                     Mariah Esperanza Garcia
                                                     Loevy & Loevy
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 22, I filed the foregoing document using the Court’s

CM/ECF system, which effected service on all counsel of record.

                                                    /s/ Jon Loevy
                                                    One of Plaintiff’s Attorneys
